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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                                 WESTERN DIVISION


The State of KANSAS, et al.,

                               Plaintiffs,

                        v.
                                                    Civil Action No. 1:24-cv-00150-DMT-CRH
UNITED STATES of AMERICA and the
CENTERS FOR MEDICARE & MEDICAID
SERVICES,

                               Defendants.




    PLAINTIFFS’ MOTION FOR A STAY OF THE FINAL RULE AND PRELIMINARY
                               INJUNCTION
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                                        INTRODUCTION

       Illegal aliens who have been granted deferred deportation under the Deferred Action for

Childhood Arrivals (DACA) program are, by statute, ineligible for a range of federal public

benefits, including subsidized health insurance under the Affordable Care Act (ACA). Congress

explicitly limited eligibility to participate in such exchanges to citizens or nationals of the

United States or to individuals “lawfully present” here. 42 U.S.C. § 18032(f)(3). Congress also

excluded DACA recipients from the list of qualified aliens who are authorized to receive

federally-funded benefits. See Personal Responsibility and Work Opportunity Reconciliation

Act of 1996 (PRWORA), Pub. L. 104-193, Title VI, 8 U.S.C. § 401, 110 Stat. 2105, 2112 (currently

codified at 8 U.S.C. § 1611). This was done for good reason: to discourage illegal immigration and

avoid draining taxpayer resources.

       The Centers for Medicare and Medicaid Services (CMS) has nonetheless now chosen to

ignore Congress and grant DACA recipients access to the ACA’s subsidized health exchanges

anyway. They are doing this through a Final Rule that claims DACA recipients are “lawfully

present” under CMS regulations. See “Clarifying the Eligibility of Deferred Action for Childhood

Arrivals (DACA) Recipients and Certain Other NonCitizens for a Qualified Health Plan

Through an Exchange, Advance Payments of the Premium Tax Credit, Cost-Sharing Reductions,

a Basic Health Program,” 89 Fed. Reg. 39,392 (May 8, 2024). This action is both contrary to law

and arbitrary and capricious.

       This Final Rule will encourage DACA recipients and other unlawfully present persons to

illegally remain in the United States in the hope of receiving subsidized health insurance

through the ACA, the very harm Congress sought to prevent. Their continued unlawful presence

will require Plaintiff States to expend their limited resources on education, healthcare, law

enforcement, public assistance, and other forms of public assistance diverted to support


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unlawfully present aliens. It will also directly increase administrative and economic burdens on

states like Kentucky who run their own ACA exchange. See Ex. 2, Decl. of Meier, para. 20. The

Final Rule’s effective date is November 1, 2024. Unless the court intervenes, Plaintiff States will

suffer irreparable harm from the Rule’s implementation.

        Accordingly, Plaintiff states request that the Court prevent the Rule from imminently

going into effect and enter an order either: (1) postponing the effective date of the Final Rule

pending judicial review or (2) enjoining Defendants from implementing the Final Rule pending

judicial review.

                                     STATEMENT OF FACTS

        I.      Statutory and Regulatory Framework

        In the PRWORA, Congress announced a “compelling government interest to remove the

incentive for illegal immigration provided by the availability of public benefits.” 8 U.S.C.

§ 1601(6). Congress therefore provided that, “[n]othwithstanding any other provision of law,”

any noncitizen who is not a “qualified alien” is ineligible for any federal public benefit. 8 U.S.C.

§ 1611(a). Only lawful permanent residents, asylees, refugees, parolees granted parole for a period

of at least one year, aliens granted withholding of removal, and certain battered aliens count as

“qualified aliens.” 8 U.S.C. § 1641(b), (c).

        Years later, when enacting the ACA, Congress took a similar tack: expressly limiting

eligibility for Qualified Health Plans (QHPs)1 to individuals who are either citizens or nationals


1 The Patient Protection and Affordable Care Act (i.e., the ACA), Pub. L. No. 111–148, 124 Stat. 119,

was enacted in 2010. Among other things, it “required most Americans to obtain minimum
essential health insurance coverage and imposed a monetary penalty upon most individuals who
failed to do so.” California v. Texas, 141 S. Ct. 2104, 2108 (2021). The ACA “require[d] the creation of
an ‘Exchange’ in each State—basically, a marketplace that allows people to compare and purchase
insurance plans.” King v. Burwell, 576 U.S. 473, 479 (2015). Under the ACA, each state may “establish
its own Exchange, but [the ACA] provides that the Federal Government will establish the



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of the United States or who are “lawfully present” here. 42 U.S.C.§ 18032(f)(3). The ACA further

requires CMS to verify that health exchange applicants are lawfully present in the United

States. 42 U.S.C. § 18081(c)(2)(B).

        In June 2012, the Department of Homeland Security created the DACA program,

declaring that certain individuals who came to the United States illegally as children could

request consideration of deferred action (i.e. the deferral of their required deportation) for a

period of two years, subject to renewal. Memorandum from Janet Napolitano, Sec’y, DHS, to

David Aguilar, Acting Comm’r, U.S. Customs & Border Prot., et al. (June 15, 2012), available at

https://www.dhs.gov/xlibrary/assets/s1-exercising-prosecutorial-discretion-individuals-who-

came-to-us-as-children.pdf. These individuals were also made eligible for DHS work

authorization. See 8 C.F.R. § 274a.12(c)(33). The Department argued that this was merely an

exercise of prosecutorial discretion to defer removal action for a period of time, and it expressly

disclaimed providing anyone with lawful status. See id. (“This memorandum confers no

substantive right, immigration status or pathway to citizenship. Only the Congress, acting through its

legislative authority, can confer these rights.”) (emphasis added).

        Consequently, in August 2012, CMS amended its definition of “lawfully present”—

located in 45 C.F.R. § 152.2—to take the exact same position Plaintiff States take today: DACA

recipients are not lawfully present aliens. See generally “Pre-Existing Condition Insurance Plan

Program,” 77 Fed. Reg. 52,614 (Aug. 30, 2012). This definition extended to Medicaid, Children’s

Health Insurance Program (CHIP), and Basic Health Plan (BHP) eligibility. 2


Exchange if the State does not.” Id. The ACA requires all exchanges to “‘make available qualified
health plans to qualified individuals and qualified employers.’” 42 U.S.C. § 18031(d)(2)(A).
2 CMS describes a BHP as “a health benefits coverage program for low-income residents who

would otherwise be eligible to purchase coverage through the Health Insurance Marketplace.”



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       The legality of the DACA program has been the subject of litigation since it was first

promulgated. Last year, a federal district court enjoined and vacated DHS’s DACA rule. See Texas

v. United States, Civil Action No. 1:18-CV-00068, 2023 WL 5950808, at *1 (S.D. Tex. Sept. 13,

2023). The court’s order allowed DHS to continue to administer the DACA program for

individuals who registered prior to July 16, 2021.

       II.     The Final Rule

       Now, CMS has changed its position for purely political ends to redefine both DACA

recipients and employment-authorized aliens as “lawfully present” for purposes of the ACA. 89

Fed. Reg. 39,392. The agency justifies its 180-degree reversal by citing “the broad aims of the

ACA to increase access to health coverage” 89 Fed. Reg. at 39,395. According to CMS, the prior

practice of excluding DACA recipients “failed to best effectuate congressional intent in the

ACA.” Id. Defining DACA recipients as lawfully present, the agency claims, “aligns with the

goals of the ACA—specifically, to lower the number of people who are uninsured in the United

States and make affordable health insurance available to more people.” 89 Fed. Reg. at 39,396.

CMS also claims it was motivated by the national economic importance of DACA recipients, by

the agency’s desire to support the DACA policy, and by the disproportionately high percentage

of uninsured DACA recipients. 89 Fed. Reg. at 39,395-96.



Basic Health Program, https://www.medicaid.gov/basic-health-program/index.html (last visited
Aug. 27, 2024). Through a BHP, a state can

       provide coverage to individuals who are citizens or lawfully present non-citizens, who
       do not qualify for Medicaid, CHIP, or other minimum essential coverage and have
       income between 133 percent and 200 percent of the federal poverty level (FPL).
       People who are lawfully present non-citizens who have income that does not
       exceed 133 percent of FPL but who are unable to qualify for Medicaid due to such
       non-citizen status, are also eligible to enroll.

Id. (emphasis added).



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       In light of these justifications, CMS declared that it “s[aw] no reason to treat DACA

recipients differently from other noncitizens who have been granted deferred action.” 89 Fed.

Reg. at 39,396. The Final Rule acknowledged the injunction against DACA (discussed above) in

a footnote, saying that “[c]urrent court orders prohibit DHS from fully administering the DACA

final rule. However a partial stay permits DHS to continue processing DACA renewal requests

and related applications for employment authorization documents.” 89 Fed. Reg. at 39,395.

       Besides DACA recipients, the Final Rule also adds aliens granted employment

authorization under 8 C.F.R. § 274a.12(c) into the definition of “lawfully present,” for purposes

of ACA eligibility. This expands the categories of aliens considered lawfully present from the

seven enumerated categories under the former regulatory definition3 to all thirty-six categories

covered under 8 C.F.R. § 274a.12(c). See 89 Fed. Reg. at 39,408. CMS’s only justification for this

change was that it would make it easier to determine who was lawfully present if they could

include anyone with DHS work authorization. Id. Even so, CMS acknowledged that its new

definition of “lawfully present” might include noncitizens who were, in fact, not lawfully

present. See id. (“Almost all noncitizens granted employment authorization under 8 CFR

274a.12(c) are already considered lawfully present under existing regulations.”) (emphasis

added); see also 89 Fed. Reg. at 39,409 (“We agree that a grant of employment authorization does

not result in an individual being considered a “qualified alien” under [PRWORA].”). In other

words, CMS’s new definition of “lawfully present” knowingly includes noncitizens that even the

agency recognizes are not here lawfully.

       CMS’s justification for this result is non-sequitur: “we believe it is appropriate to include


3 The old version of 8 C.F.R. § 152.2(4)(iii) defined “Lawfully present” to include “Aliens who

have been granted employment authorization under 8 CFR § 274a.12(c)(9), (10), (16), (18), (20),
(22), or (24).”



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all individuals with such [§ 274a.12(c)] employment authorization because DHS has made an

affirmative determination that the individual has an underlying immigration status or category

that authorizes them to work legally in the United States.” Id.

        III.      DACA Recipients Reside in the Plaintiff States

       As of December 31, 2023, the Federal government’s own data confirms that there were

approximately 530,110 active DACA recipients distributed across the nation. U.S. Citizenship &

Immigr. Servs., Office of Performance & Quality, Count of Active DACA Recipients by State or

Territory as of December 31, 2023, available at

https://www.uscis.gov/sites/default/files/document/data/active_daca_recipients_fy2024_q1.xlsx

[hereinafter “DACA Recipients by State”].

       According to U.S. Citizenship and Immigration Services, the (rounded) number of DACA

recipients in each Plaintiff State is as follows:

        Alabama                 3,460

        Arkansas                3,680

        Florida                 21,080

        Idaho                   2,250

        Indiana                 7,450

        Iowa                    2,010

        Kansas                  4,350

        Kentucky                2,230

        Missouri                2,550

        Montana                 80

        Nebraska                2,420

        New Hampshire           220


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         North Dakota         130

         Ohio                 3,290

         South Carolina       4,840

         South Dakota         190

         Tennessee            6,360

         Texas                87,620

         Virginia             7,810

Id.

         And according to CMS, the Final Rule is expected to result in 147,000 DACA recipients

becoming newly eligible for a subsidized health plan. See 89 Fed. Reg. at 39,425. This includes

86,000 in Fiscal Year 2026 alone, at a cost of $305 million—$3,547 per DACA recipient per year.

Ex. 1, Camarota Decl. para. 5. These benefits are significant, especially considering that DACA

recipients tend to have modest levels of education and are more likely to have incomes below

200% of the federal poverty line. Id. at para. 6. DACA recipients are especially likely to have been

born in countries where healthcare does not meet American standards. Id. at para. 10.

         IV.     Plaintiff States’ Involvement in the ACA

         Under the ACA, states have the option to create an exchange program to handle QHP

enrollment. 42 U.S.C. § 18041. Plaintiffs Idaho, Kentucky and Virginia administer their own

state-run ACA exchanges to handle QHP enrollment. See The Marketplace in Your State,

https://www.healthcare.gov/marketplace-in-your-state/ (last visited Aug. 28, 2024) [hereinafter

“Marketplace”]. All states that run their own Exchange will incur significant costs. The Final

Rule notes the following costs on the states: (1) $194,650 to develop and code changes to each

states Exchange eligibility system, and (2) $624,142 in state application processing charges to




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assist individuals impacted by the final rule. Final Rule, 89 Fed. Reg. at 39,426; see also Ex. 2,

Decl. of Meier, para. 20-22.

                                          LEGAL STANDARD

        The Administrative Procedure Act provides that:

        On such conditions as may be required and to the extent necessary to prevent
        irreparable injury, the reviewing court, including the court to which a case may be
        taken on appeal from or on application for certiorari or other writ to a reviewing
        court, may issue all necessary and appropriate process to postpone the effective
        date of an agency action or to preserve status or rights pending conclusion of the
        review proceedings.

5 U.S.C. § 705. This provision “authorizes reviewing courts to stay agency action pending

judicial review.” Affinity Healthcare Servs., Inc. v. Sebelius, 720 F. Supp. 2d 12, 15 n.4 (D.D.C. 2010)

(citation omitted).

        “Motions to stay agency action pursuant to these provisions are reviewed under the same

standards used to evaluate requests for interim injunctive relief.” Id. (citing Cuomo v. Nuclear Regul.

Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985)). Preliminary injunctive relief is available to plaintiffs

who demonstrate: (1) the probability or likelihood of success on the merits, (2) the real threat of

irreparable harm or injury absent immediate relief, (3) that the balance of equities resulting from

the issuance of the injunction against the order’s effect on the defendant and third parties

weighs in favor of plaintiffs, and (4) that the public interest favors immediate injunctive relief.

See Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981) (en banc). While likelihood of

success on the merits is generally the “most significant” factor, S&M Constructors, Inc. v. Foley Co.,

959 F.2d 97, 98 (8th Cir. 1992), “[n]o single factor in itself is dispositive,” Calvin Klein Cosmetics

Corp. v. Lenox Labs., Inc., 815 F.2d 500, 503 (8th Cir. 1987).




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                                                  ARGUMENT

        I.      Plaintiffs are likely to succeed on the merits.

        “In considering the likelihood of the movant prevailing on the merits, a court does not

decide whether the movant will ultimately win.” PCTV Gold, Inc. v. SpeedNet, LLC, 508 F.3d 1137,

1143 (8th Cir. 2007). Rather, the plaintiff must show “a reasonable likelihood” at least one of the

movant’s claims will succeed on the merits. Id. In other words, the plaintiff must show more

than a “possibility” he will succeed, but need not demonstrate to a mathematical certainty that

there is “a greater than fifty per cent likelihood that he will prevail on the merits,” Id. at 1143

(quoting Dataphase, 640 F.2d at 113); accord Nken v. Holder, 556 U.S. 418, 434–35 (2009); Kroupa v.

Nielsen, 731 F.3d 813, 818 (8th Cir. 2013). To determine likelihood of success, “a court should

flexibly weigh the case’s particular circumstances to determine ‘whether the balance of equities

so favors the movant that justice requires the court to intervene to preserve the status quo until

the merits are determined.’” Calvin Klein, 815 F.2d at 503 (quoting Dataphase, 640 F.2d at 113).

Plaintiffs meet this standard.

                A.      The Final Rule is contrary to law

        Under the APA, a court must “hold unlawful and set aside agency action” that is “not in

accordance with law” or “in excess of statutory . . . authority, or limitations, or short of statutory

right.” 5 U.S.C. § 706(2)(A), (C). An agency has acted in excess of statutory authority when it

“has gone beyond what Congress has permitted it to do” either by assuming authority it does

not have or by exercising the authority it does have in an impermissible way. City of Arlington v.

FCC, 569 U.S. 290, 297 (2013).

        CMS’s determination that DACA recipients are “lawfully present” is contrary to law,

because the “action” that is deferred by the DACA program is enforcement action—i.e.,

deportation—on recipients’ unlawful presence. See 8 C.F.R. § 236.22(b)(4) (limiting DACA


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availability to aliens who lack lawful immigration status); see also 8 U.S.C. § 1182(a)(6)(A)(i)

(“An alien present in the United States without being admitted or paroled, or who arrives in the

United States at any time or place other than as designated by the Attorney General, is

inadmissible.”); id. § 1229a(a)(2) (noting that inadmissible aliens are removable).

        Several courts have recognized the obvious fact that DACA recipients are unlawfully

present. As the Eleventh Circuit explained, DACA recipients are simply “given a reprieve from

potential removal; that does not mean they are in any way ‘lawfully present’ under the [INA].”

Estrada v. Becker, 917 F.3d 1298, 1305 (11th Cir. 2019) (citation omitted). Similarly, another court

has stated that “the INA expressly and carefully provides legal designations allowing defined

classes of aliens to be lawfully present, and Congress has not granted the Executive Branch free

rein to grant lawful presence to persons outside the ambit of the statutory scheme.” Texas v.

United States, 549 F. Supp. 3d 572, 609–10 (S.D. Tex. 2021) (internal quotes omitted), aff’d in

relevant part, 50 F.4th 498 (5th Cir. 2022). As the Fifth Circuit put it later in the same litigation:

        DACA creates a new class of otherwise removable aliens who may obtain lawful
        presence, work authorization, and associated benefits. Congress determined
        which aliens can receive these benefits, and it did not include DACA recipients
        among them. We agree with the district court’s reasoning and its conclusions that
        the DACA Memorandum contravenes comprehensive statutory schemes for
        removal, allocation of lawful presence, and allocation of work authorization.

50 F.4th at 526.

        Since DACA recipients are not lawfully present, they cannot receive federal benefits that

are statutorily limited to individuals who are lawfully present. This is not a close or particularly

difficult question of statutory interpretation.

        In the PRWORA, Congress broadly prohibited non-qualified aliens from receiving any

federal public benefit “[n]otwithstanding any other provision of law,” 8 U.S.C. § 1611(a). Phrases

such as this “broadly sweep aside potentially conflicting laws.” United States v. Novak, 476 F.3d



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1041, 1046 (9th Cir. 2007); see also Campbell v. Minneapolis Pub. Hous. Auth. ex rel. City of Minneapolis, 168

F.3d 1069, 1075 (8th Cir. 1999) (“The phrase, ‘notwithstanding any other provision of law,’

signals that the [statute] supersedes other statutes that might interfere with or hinder the

attainment of this objective.” (citations omitted)).

        Nothing in the text of the ACA gives CMS the authority to act beyond the bounds of the

PRWORA. In fact, the ACA’s plain language, limiting eligibility to lawfully present individuals,

aligns with PRWORA’s restriction on the provision of federal benefits. See 42 U.S.C.

§ 18032(f)(3). Therefore, the PRWORA controls. See Poder in Action v. City of Phoenix, 481 F. Supp.

3d 962, 972 (D. Ariz. 2020) (when law was “utterly silent as to who should receive [] funds” and

did not “provide a clear expression of congressional intent concerning whether certain aliens

should be excluded from receiving [] funds,” PRWORA controlled).

        And the PRWORA’s definition of qualified alien does not apply to DACA recipients.

“Qualified aliens” must be lawfully admitted under the Immigration and Nationality Act (INA),

or otherwise granted lawful status under a specific provision of United State immigration law.

See 8 U.S.C. § 1641. No part of the definition of “qualified alien” contemplates someone whose

unlawful presence is temporarily tolerated due to the executive branch’s unlawful program of

prosecutorial discretion. Since DACA recipients do not fall within the definition of “qualified

alien” set forth in the PRWORA, they are ineligible for ACA benefits, full stop.4




        4 Nothing in the ACA itself gives CMS the authority to extend any federal benefit to a

class of people if Congress has deemed that class to be unqualified, therefore PRWORA
controls. See Poder in Action v. City of Phoenix, 481 F. Supp. 3d 962, 972 (D. Ariz. 2020) (when the
CARES Act was “utterly silent as to who should receive [] funds” and did not “provide a clear
expression of congressional intent concerning whether certain aliens should be excluded from
receiving [] funds,” the court turned to PRWORA to determine eligibility).



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       Nonetheless, the Final Rule runs counter to the PRWORA by making aliens granted

deferred action under DACA, or anyone DHS has granted employment authorization, eligible to

enroll in QHPs through a subsidized Exchange. 89 Fed. Reg. 39,436. Aliens granted deferred

action, including those in the DACA program, are not included within Congress’s definition of

“qualified alien,” 8 U.S.C. § 1641, nor do they fall within an exception to the prohibition on

public benefits. See 8 U.S.C. § 1611(b)(1) (providing exceptions to the prohibition against federal

public benefits for certain public benefits, including emergency medical care, assistance for

immunizations, certain non-cash, in-kind services, and other specific federal programs under

certain circumstances).

       In addition, aliens granted employment authorization under 8 C.F.R. § 274a.12(c) do not

automatically fall within the definition of “qualified alien” under the PRWORA either.

“Qualified aliens” are generally eligible for employment authorization. See generally 8 C.F.R.

§ 274a.12(a) (making aliens with certain immigration statuses eligible for employment

authorization, including lawful permanent residents and refugees). But not all those granted

employment authorization are qualified aliens. See 89 Fed. Reg. 39,408 (“Almost all noncitizens

granted employment authorization under 8 CFR 274a.12(c) are already considered lawfully

present under existing regulations”); id. at 39,409 (“We agree that a grant of employment

authorization does not result in an individual being considered a ‘qualified alien’ under 8 U.S.C.

1641(b) or (c) [PRWORA]”). So a mere grant of employment authorization cannot confer lawful

presence under either the INA or PRWORA.

       By making both DACA recipients and employment-authorized aliens eligible to enroll in

a QHP through an Exchange, the Final Rule runs contrary to law because subsidies provided to

QHP enrollees constitute a federal public benefit under PRWORA. See 8 U.S.C. § 1611(c)(1)(B)

(defining “federal public benefit” to include any health benefit “for which payments or assistance


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are proved to an individual, household, or family eligibility unit by an agency of the United

States or by appropriated funds of the United States.”). The Final Rule, by including in its

definition of aliens “lawfully present” in the United States both DACA enrollees and aliens

granted work authorization, is thus both not in accordance with the PRWORA and in excess of

CMS’ statutory authority.

                 B.      The Final Rule is arbitrary and capricious

        Under the APA, a court must also “hold unlawful and set aside agency action” that is

“arbitrary, capricious [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A). An agency acts

arbitrarily and capriciously when it departs sharply from prior practice without reasonable

explanation or fails to consider either alternatives to its action or the affected communities’

reliance on the prior rule. DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020); see also In re

Operation of Mo. River Sys. Litig., 421 F.3d 618, 628 (8th Cir. 2005) (agency action is arbitrary and

capricious when agency “relied on factors which Congress has not intended it to consider,

entirely failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise”). An agency also acts

arbitrarily and capriciously when it fails to consider costs, which are a “centrally relevant factor

when deciding whether to regulate.” Michigan v. EPA, 576 U.S. 743, 752–53 (2015).

        The ACA does not allow federal healthcare subsidies or coverage for aliens who are not

lawfully present in the United States. 42 U.S.C. 18032(f)(3). As discussed above, DACA

recipients are not lawfully present. Prior to the Final Rule, CMS policy recognized this fact. See,

e.g., 77 Fed. Reg. at 52,615 (“As it also would not be consistent with the reasons offered for

adopting the DACA process to extend health insurance subsidies under the [ACA] to these

individuals, HHS is amending its definition of ‘lawfully present’ in the [Pre-existing Condition


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Insurance Plan Program], so that the [] program interim final rule does not inadvertently expand

the scope of the DACA process.”). In the Final Rule, CMS reversed its prior policy without

explanation and did not consider the full scope of costs to States in doing so.

       In promulgating the Final Rule, Defendants failed to provide a reasonable explanation for

the sharp departure from CMS’ own its own past practice and prior assertions. The Final Rule

does not attempt to explain why the agency’s about-face is now consistent with the “reasons

offered for adopting the DACA process.” Nor does it explain why the reasons for adopting the

DACA process are in any way related to the conditions for ACA eligibility. And while CMS

offers conclusory statement that the Final Rule is consistent with the goals of the ACA (see 89

Fed. Reg. at 39,396), the ACA does not give CMS authority to expand a federal benefit program

to those to whom Congress has expressly denied benefits.

       Further, CMS’s redefinition of DACA recipients as “lawfully present” is facially

irrational. The self-contradictory nature of Defendants’ determination that deferred action

recipients are lawfully present is obvious when it is spelled out in full: those aliens on whose

unlawful presence DHS is deferring action are lawfully present. Defendants’ Final Rule treating such

aliens as “lawfully present” is unreasonable, arbitrary, and capricious, and should be enjoined

under 5 U.S.C. § 706.

       Defendants also failed to consider the costs States would incur as a result of the Final

Rule. States which operate their own exchanges will see operating costs increase and premiums

rise. These include technology and staffing expenses, funded from state revenues. See Ex. 2, Decl.

of Kentucky, paras. 20-22. And every Plaintiff State will experience decreased emigration by

illegal aliens, as expanded eligibility for ACA coverage and subsidies encourages more illegal

aliens to remain in the country. See Ex. 1, Camarota Decl. With more illegal aliens residing in

Plaintiff States, the States will foreseeably incur additional costs as they provide driver’s


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licenses, public education, and emergency services to illegal aliens. And all the States bear the

costs of the DACA program in the form of incarceration of DACA recipients who commit crimes.

See U.S. Citizenship and Immigration Services, DACA Requestors with an IDENT Response: November

2019 Update, at 1, available at https://tinyurl.com/ytrrhwj7 (between 2012 and October 2019, nearly

80,000 illegal aliens with prior arrest records were granted DACA status).

        Defendants did not consider any of these costs when promulgating the Final Rule.

Instead, the only costs to States Defendants’ accounted for were “system changes” to ACA

exchanges in order to comply with the Final Rule’s new eligibility requirements. See 89 Fed. Reg.

at 39,434 (“States that do not have a BHP and do not operate their own Exchange… are not

expected to incur any costs as a result of this rule.”). This failure to consider, at all, the

foreseeable and substantial costs the Final Rule will impose on the States arbitrary and

capricious, and provides another reason why Plaintiffs are likely to succeed on the merits of

their challenge.

        II.     Plaintiffs have standing and will suffer irreparable harm absent a stay and

                preliminary injunction.

        “[P]laintiffs seeking preliminary relief [must] demonstrate that irreparable injury is

likely in the absence of an injunction.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)

(emphasis omitted). A party must make a “clear showing” that harm is more than simply a

“possibility” and is not merely “speculative.” Id. at 21–22. As demonstrated below—and as

admitted by Defendants in the proposed rule—the likelihood Plaintiff States will suffer

irreparable harm is more than a possibility—it is a near certainty. Here, Plaintiffs are asserting

“procedural right[s] to protect [their] concrete interests.” Lujan v. Defenders of Wildlife, 504 U.S.

555, 572 n.7 (1992). The States can thus assert their procedural rights under the APA “‘without




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meeting all the normal standards for redressability and immediacy.”’ Massachusetts v. E.P.A., 549

U.S. 497, 498 (2007) (quoting Lujan, 504 U.S. at 572 n.7).

        CMS itself admits that the Final Rule will make 147,000 uninsured DACA recipients

newly eligible for subsidized health insurance. 89 Fed. Reg. at 39,425. Expanding eligibility for

ACA coverage will impose additional administrative and resource burdens on states that have

established their own ACA exchange by allowing additional persons to use such exchanges. See

89 Fed. Reg. at 39,424, 39,426; see also Ex. 2, Decl. of Meier, paras. 20-22. Plaintiffs Idaho,

Kentucky, and Virginia administer their own state-run ACA exchange to handle QHP

enrollment. Marketplace, supra. These states will face increased administrative and system costs

when they are forced to distribute ACA exchange subsidies to a new class of illegal aliens who

are disproportionately lower-income. The Final Rule expressly acknowledges these costs will be

incurred by the Plaintiff States. See 89 Fed. Reg. at 39,424, 39,426. Those Plaintiff States’

standing cannot seriously be disputed, and “the presence of one party with standing is sufficient

to satisfy Article III’s case-or-controversy requirement.” Rumsfeld v. Forum for Academic and

Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006).

        Moreover, in addition to the financial and administrative burdens the Final Rule puts on

Plaintiff States who run their own ACA exchanges, subsidized health insurance through the

ACA is a valuable public benefit, worth an average of $3,547 per year to each DACA recipient.

This public benefit foreseeably encourages alien beneficiaries who are unlawfully present in the

United States to remain in the United States. See Ex. 1, Camarota Decl. paras. 5-6. It goes

without saying that aliens’ immigration decision-making is heavily influenced by the availability

of welfare and other public benefits. Id. para 9. And for the majority of DACA recipients, who

come from countries with healthcare systems that are inferior to what is offered in the United

States, ACA eligibility is an even greater inducement to remain. Id. para. 10.


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       Therefore, the Final Rule will foreseeably cause all the Plaintiff States to expend more of

their limited education, healthcare, law enforcement, public assistance, and other resources on

illegally present aliens. Id. This harm is far from remote or speculative. Congress itself concluded

that “the availability of public benefits” provides an “incentive for illegal immigration,” 8 U.S.C.

§ 1601(5), hence the need to limit the availability of such benefits to those Congress has

authorized to be here—that’s why PRWORA was enacted. See id. § 1601(2)(B).

       As an example, every Plaintiff State must allow minors who are not lawfully present in

the United States to attend their schools. Plyler v. Doe, 457 U.S. 202, 223–30 (1982). Each incurs a

substantial cost to educate school aged children. E.g., Kan. State Dep’t of Educ., Expenditures Per

Pupil: 2020-2021 at 8 (Jan. 2021), available at https://shorturl.at/bIUXY (noting 2020-2021

school year expenditures per pupil were approximately $15,869); North Dakota Dep’t of Public

Instruction, School Finance Facts, at 4 (Feb. 2023), available at

https://www.nd.gov/dpi/sites/www/files/documents/SFO/2023FinFacts.pdf (2021-2022

expenditure of $14,174 per pupil). Consequently, all the Plaintiff States incur fiscal costs through

the provision of free K–12 public education to DACA recipients and their children (as well to as

other unlawfully present persons), since some portion of the DACA recipients are either the

parents of K–12 school-age children or are themselves K–12 school-age children.

       Additionally, most of the Plaintiff States incur costs through the issuance of driver’s

licenses to DACA recipients. E.g., Ind. Code 9-24-11-5(c); Iowa Code §§ 321.190(d) and

321.196(a); Kan. Stat. Ann. §§ 8-240(b)(2)(H), 8-243(a) (2022); Mont. Code Ann. §§ 61-5-110, 61-

5-105(10); Neb. Rev. Stat. §§ 60-484.04, 60-484.05; N.H. Code Admin. R. Saf-C 1002.06; SD ST §




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32-2-1-1; Tenn. Code. Ann. § 4-58-102; Va. Code § 46.2-328.3.5 See also Arizona Dream Act Coalition

v. Brewer, 855 F.3d 957 (9th Cir. 2017), cert denied 138 S.Ct. 1279 (2018) (enjoining Arizona’s

policy of refusing to issue driver’s licenses to DACA recipients).

        And DACA recipients also consume public benefits in the form of emergency care and

other public assistance expenditures in Plaintiff States. See Kan. Dep’t of Health and Env’t,

Medicaid Transformation 214 (Jan. 2009), available at https://www.kdhe.ks.gov/253/Medicaid-

Transformation (noting “[illegal aliens] have been found to use hospital and emergency services

at over twice the rate of the overall U.S. population,” and observing that there is a “large number

of” “uninsured” illegal aliens). States also incur additional costs when they incarcerate DACA

recipients and are required to fund their legal defense. Since the Final Rule is highly likely to

reduce the number of DACA recipients who leave the United States (see Ex. 1, Camarota Decl.),

the Final Rule will increase the costs imposed on Plaintiff States.

        III.    The equities overwhelmingly favor a stay of agency action and preliminary

                injunction

        The two final prongs of the stay/preliminary injunction inquiry overwhelmingly favor

granting relief. The government Defendants will suffer no harm if the Final Rule is stayed are

enjoined from enforcing the Final Rule. See Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)

(agency suffers no harm when it is prohibited from acting “in violation of applicable statutory

restraints”); cf. Dakotans for Health v. Noem, 52 F.4th 381, 392 (8th Cir. 2022) (state “has no interest

in enforcing overbroad restrictions that likely violate the Constitution”).


5 In North Dakota, licenses can be issued to non-citizens that give proof of “legal presence”

which can be proven through Employment Authorization Cards given to DACA recipients. See
N.D.C.C. § 39-06-07.1 (requiring license applicant to verify legal presence); N.D. Dept. of
Transp., Noncommerical Drivers License Manual, at 5 (2021)* (listing an Employment Authorization
Card as a valid proof of legal presence).



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        In fact, quite the opposite is true. Congress has already conclusively declared that the

nation’s “compelling” interest lies in “remov[ing] the incentive for illegal immigration provided

by the availability of public benefits,” 8 U.S.C. § 1601(6). To not suspend the Final Rule would

empower CMS to harm the federal government’s interests. In addition, third-party DACA

recipients’ have no legally cognizable interest in obtaining public benefits for which they are

statutorily ineligible. See Evanoff v. Minneapolis Pub. Sch., Special Sch. Dist. No. 1, 11 F. App’x 670, 670–71

(8th Cir. 2001); cf. Lyng v. Payne, 476 U.S. 926 (1986) (“We have never held that applicants for

benefits, as distinct from those already receiving them, have a legitimate claim of entitlement

protected by the Due Process Clause of the Fifth or Fourteenth Amendment.”).

        Finally, “[t]here is generally no public interest in the perpetuation of unlawful agency

action.” Shawnee Tribe v. Mnuchin, 984 F.3d 94, 102 (D.C. Cir. 2021). To the contrary, where, as here,

a party has demonstrated a strong likelihood of success on the merits, it is “a strong indicat[ion]

that a preliminary injunction would serve the public interest.” Id. As established above, the

Plaintiff States and the public at large have a compelling interest in preventing the expenditure

of public funds to those who are not eligible. Because the Final Rule extends public benefits to

classes of aliens beyond those identified by Congress, it is contrary to the public interest.

                                              CONCLUSION

        For the foregoing reasons, Plaintiff States asks this Court to postpone the effective date

of the Final Rule and preliminarily enjoin Defendants from implementing the Final Rule pending

judicial review.




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